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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION

IN RE:                                          §
                                                §
       VERONICA SAENZ,                          §    Case No. 22-20164
                                                §       (Chapter 13)
Debtor.                                         §    JUDGE MARVIN ISGUR

                 APPLICATION TO EMPLOY NORRED LAW, PLLC
         AS SPECIAL LITIGATION COUNSEL PURSUANT TO 11 U.S.C. § 328(a)

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF
YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE
MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY
CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE
MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21
DAYS OF THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST
STATE WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A
TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER
NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN
AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES
AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE
HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

To the Honorable Marvin Isgur, United States Bankruptcy Judge:

       Veronica Saenz, (the “Movant”) files this Application to Employ Norred Law, PLLC (the

“Firm”) as special litigation counsel pursuant to 11 U.S.C. § 328(a).

                                     Application to Employ

       1.      The Movant desires to employ the Firm on an hourly fee basis to represent the

Movant in analyzing and pursuing potential claims against ARCPE I, LLC related to a

foreclosure that took place on June 7, 2022.

       2.      The employment of the Firm is required at this time to pursue the estate’s claims.

An hourly fee agreement was negotiated and a prepetition retainer deposit in the amount of

$5,000 was obtained on July 8, 2022.
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         3.        The Firm maintains offices at 515 E. Border Street, Arlington, Texas 76010. The

Firm’s main telephone number is (817) 704-3984. The Firm’s fax number is (817) 524-6686.

         4.        The Movant has selected the Firm because its members have extensive experience

in matters relating to bankruptcy and foreclosure litigation. The Movant believes that the Firm

can provide the estate with the required legal expertise to allow the Movant to handle this

litigation effectively and prudently.

         5.        Clayton L. Everett of the Firm will be designated as attorney-in-charge and will

be responsible for the representation of the Movant by the Firm as set forth in this Application.

         6.        Clayton L. Everett is admitted to practice before all courts in United States

District Courts of Texas. Mr. Everett has significant experience in handling litigation matters of

this type.       The Movant has selected Mr. Everett because of his prior experience and

specialization in bankruptcy litigation.

         7.        The Firm will render professional services including, but not limited to:

                  assisting the Movant in analyzing/prosecuting/etc. claims owned by the estate
                   against third parties;

                  preparing and filing such pleadings as are necessary to pursue the estate’s claims
                   against third parties;

                  conducting appropriate examinations of witnesses, claimants and other parties in
                   interest in connection with such litigation;

                  representing the Movant in any adversary proceedings and other proceedings
                   before the Court and in any other judicial or administrative proceeding in which
                   the claims described herein may be affected;

                  collecting any judgment that may be entered in the contemplated litigation;

                  handling any appeals that may result from the contemplated litigation; and

                  performing any other legal services that may be appropriate in connection with
                   the prosecution of the litigation described above;



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                            Statement Regarding Connections to the Case

         8.        The Firm has not previously represented the Movant prior to this bankruptcy case.

Except as set forth above and in the attached affidavit, the Firm has no other connection with the

Debtor, its creditors, any other parties in interest, their respective attorneys and accountants, the

United States trustee, or any person employed in the office of the United States trustee and are

“disinterested persons” within the definition of Section 101(14) of the Bankruptcy Code on the

matters for which it is to be engaged as special counsel. See Attached Affidavit.

                                            Compensation

         9.        The Movant has negotiated an hourly fee arrangement with the Movant. Under

the proposed agreement, the Firm is holding $5,000 in its trust account and will receive hourly

compensation of $350 per hour. In addition, if an adversary proceeding is filed, then Movant will

provide an additional $200 per month until the conclusion of the litigation and all earn fees are

paid. A copy of the proposed agreement is attached as Exhibit 1.

         10.       In reaching his decision, the Movant has evaluated the estate’s available

resources, the complexity of the litigation, the anticipated costs and the associated risks of the

litigation. Under the circumstances, the Movant believes that the terms of the proposed

agreement are both reasonable and prudent. The estate incurs no additional administrative

expense without a direct corresponding benefit.

         11.       The Firm has received $5,000 funds from the Debtor.

         12.       In the attached affidavit, the Firm has identified the amount and source of

compensation to be paid to the Firm for services rendered in connection with its representation of

the Movant in this case.




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           Accordingly, the Movant requests that the Court approve the retention of the Firm as

special litigation counsel under 11 U.S.C. § 328(a) as set forth above and for such other relief as

is just.

           Dated: July 15, 2022
                                                     Respectfully submitted, r\


                                                     Veronica Saenz
                                                     525 Poenisch Dr.
                                                     Corpus Christi, TX 78412
                                                     Debtor & Movant


                                                     NORRED LAW, PLLC


                                              By:
                                                     Clayton L. Everett
                                                     State Bar No. 24065212
                                                     515 E. Border Street
                                                     Arlington, TX 76010
                                                     (817) 704-3984
                                                     (817)524-6686 (fax)
                                                     clayton@norredlaw.com

                                                      Proposed Special Litigation Counsel




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                               CERTIFICATE OF SERVICE

        I hereby certify that, pursuant to Bankr. R. 2014, this instrument was served by United
States first class mail, with proper postage affixed, addressed to the parties set forth on the
Service List Below on this        day of

ARCPE 1,LLC                     Dominque Lane                   VANCE & HUFFMAN LLC
Attn: John Olsen                525 Poenisch Dr                 55 MONETTE PKWY STE 100
1900 Sunset Harbour Dr 2nd      Corpus Christi, TX 78412        SMITHFIELD, VA 23430
Floor
Miami Beach, FL 33139           LVNV FUNDING LLC                WSTSHMRK
                                PO BOX 1269                     801 S ABE
CREDIT MANAGEMENT LP            GREENVILLE, SC 29602            SAN ANGELO, TX 76903
6080 TENNYSON PKWY STE 1
PLANO, TX 75024                 NATIONAL CREDIT ADJUST          SECURITY FINANCE
                                327 W 4TH AVE                   C/O SECURITY FINANCE
FIG LOANS TEXAS LLC             HUTCHINSON, KS 67501PHH         SPARTANBURG, SC 29304
335 MADISON AVE FLOOR 16        MORTGAGE
NEW YORK, NY 10016              PO BOX 5452                     TRELLIS COMPANY
                                Mount Laurel, NJ 08054          PO BOX 83100
FIRST PREMIER BANK                                              ROUND ROCK, TX 78683
3820 N LOUISE AVE               POSSIBLE FINANCIAL INC
SIOUX FALLS, SD 57107           500 YALE AVE. N                 TRELLIS COMPANY
                                SEATTLE, WA 98109               1609 CENTRE CREEK DRIVE
HUGHES, WATTERS &               Raub Law Firm                   AUSTIN, TX 78761
ASKANASE, LLP                   814 Leopard
Anthony A. Garcia               Corpus Christi, TX 78401        TXU ENERGY
1201 Louisiana 28th Floor                                       200 W JOHN CARPENTER FWY
Houston, TX 77002               RMP SRVC LLC                    IRVING, TX 75039
                                200 N. NEW ROAD
                                WACO, TX 76702




                                                           L. Everett




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                     EXHIBIT 1
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Warren V. Norred
warren@norredlaw.com
                                   NORREDLAW?                                       Clayton L. Everett
                                                                              clayton@norredlaw.com
C. Chad Lampe                                                                     www.norredlaw.com
chad@norredlaw.com                                                                      817-704-3984


      ATTORNEY-CLIENT SERVICE AND FEE AGREEMENT: THIS DOCUMENT AND
           ITS CONTENTS CONSTITUTE LEGALLY PRIVILEGED INFORMATION
                                      July 8, 2022
Veronica Saenz        .  , ,    iX / xfh
Address:  JzIlX—
City/State/Zip: v / ID \  I h H V।}
                               J       T~ y J5 I
                                                   ,

(361) 215-5038         '
vsaenz26@yahoo.com

Re:     Adversary Against the Creditor for Second Lien Foreclosure of Homestead Property

Dear Ms. Saenz:

We are pleased that you have selected Norred Law, PLLC (the “Firm”) to represent you. This
letter will outline the basis upon which the Firm has agreed to provide legal representation to you
in connection with the matter(s) described above.

The Firm will act on your behalf in accordance with customary professional standards at all times.
However, you should understand that (1) any opinions we express on the outcome of your legal
matters will be based on our best professional judgment but are not guarantees and will be limited
by our knowledge of the facts and subject to changes in the law; (2) the Firm makes no
representation concerning the successful outcome of any legal matters undertaken by the Firm;
and (3) our provision of legal services to you is not a guarantee that your personal and/or business
purpose will be accomplished.
BILLING - It is the Firm’s policy to undertake representation only after we have received a deposit
in the agreed amount as a retainer. The Firm will not commence work or file on your behalf until
receipt of that retainer in the amount of $5,000.00, which will be applied toward attorney and
paralegal fees, which is kept in six-minute increments. Current hourly rates range for attorneys
from $350-$450 and $75-$200 for paralegals. These are reviewed from time to time and adjusted
as and when appropriate. When adjustments are required, you will be notified and advised
accordingly. Also note, $1,000 of the above retainer is non-refundable. The Firm will bill you
on a regular basis, normally monthly, for both legal fees and other expenses. Supporting
documents including invoices and time records are available for your inspection during normal
business hours. You agree to make payment upon receipt of any invoice and retainer request. You
agree that fees and other expenses may be deducted from any amounts collected by the Firm on
your behalf. Payment of your account is not dependent on a successful outcome of the matters for
which the Firm represents you. For ongoing matters (e.g. litigation), you agree to maintain the
initial retainer amount as stated above and the retainer amount must be maintained for work to
continue.

EXPENSES - You agree to pay expenses incurred by the Firm related to your case.

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         -
VENUE This Agreement is performable in Arlington, Texas. All monies owed hereunder must
be paid at the Firm’s office in Arlington, Texas. Jurisdiction and venue of any dispute arising
hereunder shall be solely in Tarrant County, Texas.

DEPOSITS AND RETAINERS - The Firm places all deposits, including retainers, in trust
accounts. By court rule, the Firm must place your deposit in a State Bar of Texas Interest on
Lawyers' Trust Account if not expected to earn a net return, taking into consideration the size and
anticipated duration of the deposit and the transaction costs. Interest earned on the pooled account
will be paid to the Texas Equal Access to Justice Foundation.

ACCOUNT - The Firm will give you prompt notice if your account becomes delinquent, and you
agree to bring the account current. If the delinquency continues and you do not arrange satisfactory
payment terms, the Firm will withdraw from representation and pursue collection of your account.
You agree to pay the costs of collecting the account, including any court costs, filing fees, and any
reasonable and necessary attorneys’ fees.

TERMINATION - You may terminate the Firm’s representation at any time, with or without
cause, by notifying the Firm in writing. If this occurs, the Firm will return your papers and property
to you promptly upon complete payment of your account. The Firm will retain its files on your
case. Termination of our services will not affect your responsibility for payment of legal services
rendered and cost already incurred or incurred in transferring the matter to another attorney. Open
inactive files will be charged $100 per month.

WITHDRAWAL - Attorneys of the Firm are subject to the Texas Disciplinary Rules of
Professional Conduct, which list several circumstances that allow or require attorneys to withdraw
from representing a client. These include nonpayment of fees or costs, misrepresentation, or failure
to disclose material facts, actions contrary to the attorney’s advice, and conflict of interest with
another client. The Firm tries to identify in advance and discuss with a client any situation that
may lead to the Firm’s withdrawal, and if withdrawal becomes necessary, the Firm will give the
client immediate written notice. You agree that failure to pay invoices when due constitutes
grounds for withdrawal.

NOTICE AND WAIVER OF POTENTIAL CONFLICTS - The Firm represents many clients,
many of which may have overlapping interests in the same industry, but will not represent clients
when an actual direct conflict exists or arises. This practice allows us to obtain more experience in
specific industries. As a condition to our undertaking this engagement and representing you, you
agree to give consent to our representation of both you and your competitors, except if such
representation involves a direct conflict. For example, the Firm files trademark applications for
restaurant services for many restaurants, which conceivably compete for the same clients, but
would not file the same mark that the Firm has already filed for another client. In such cases, the
Firm will inform you of the actual conflict and assist you to avoid expending funds on registration
efforts that the Firm believes will be unlikely to be successful.
STORED DOCUMENTATION - Norred Law uses email and electronically stored information
(ESI), both on-site and cloud-based to record client and matter information to provide better
service to you. You agree to the Firm's use of ESI to store and transmit data within your case, and
you acknowledge the benefits and inherent risks associated with email. You are responsible for
providing the firm with a secure email address and understand the Firm is not responsible for the
security of your personal email address. We cannot serve you properly if you do not respond to our

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email communications timely. In accordance with our office policy, all electronic and physical
documents are destroyed after a period of five years following the conclusion of your case. You
are responsible for requesting your case files prior to destruction.
TAX ACKNOWLEDGEMENT - The client is advised to obtain independent and competent tax
advice regarding legal matters since legal transactions can give rise to tax consequences. The client
should have a certified public accountant or tax attorney determine if the legal work that is to be
performed under this agreement has or may have tax implications or consequences to the client or
any of the client’s interests. The undersigned law office and attorney have not agreed to render any
tax advice and are not responsible for any advice regarding tax matters or preparation of tax
returns, or other filings, including, but not limited to, state and federal income tax returns.

GRIEVANCES - Pursuant to Texas Gov’t Code § 81.079, Texas attorneys must provide notice to
clients of the existence of the grievance process. The State Bar investigates and prosecutes
professional misconduct. While not every complaint or dispute involves professional misconduct,
the State Bar’s Office of Chief Disciplinary Counsel at 1-800-932-1900 will provide you with
information about how to file a complaint.

PERFORMANCE - The parties agree that client will not be liable to pay the Firm for
extraordinary results, but neither will the Firm be responsible for negligent errors. The parties
agree that this agreement does not include a guarantee of perfect performance and barring a
deliberate mistake, the client may choose to terminate the relationship or continue with the Firm,
but will not file a grievance or complaint based on negligence.

PUBLICITY - Client agrees to cooperate with Firm regarding media exposure regarding this
matter, and the Firm may freely discuss the issue and any legal proceedings publicly.

INACTIVE CASES - Norred Law reserves the right to deduct $100 from your trust account per
month when a case becomes inactive or when you are unresponsive to Firm communication.

SPECIAL INSTRUCTIONS: Client agrees to pay $200 each month after filing of the adversary
until the case is resolved.




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Please sign in the space provided below and return the signed Agreement so that we may begin
working on your behalf. We appreciate your trust in our law office and look forward to working
with you. If you have any questions, please call our office at (817) 704-3984.
                                           Sincerely yours,

                                           Norred Law, PLLC
                                                                                C
                                           By:                             " z
                                           Warren V. Norred, Texas Bar No. 24045094
                                           warren@norredlaw.com
                                           C. Chad Lampe, Texas Bar No. 24045042
                                           chad@norredlaw.com
                                           Clayton L. Everett, Texas Bar No. 24065212
                                           clayton@norredlaw.com
                                           515 E. Border St., Arlington, Texas 76010
                                           O. (817) 704-3984 F. (817) 524-6686


SIGNED AND ACCEPTED this                    day of     “5 kA    J              , 2022.



Veronica Saenz




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NOTICES OF CLIENT’S DUTY OF COOPERATION, ATTORNEY’S RIGHT TO WITHDRAW,
               AND DISCLOSURE OF NO GUARANTEED RESULTS

This document is made in conjunction with an attorney-client agreement. My signature indicates that I am
seeking legal representation and have read and understood each item below.

(1) I agree to disclose truthfully to Attorney all information related to my matter or case, including
information which may not appear relative or which I might not otherwise wish to divulge.

(2) I agree to keep Attorney advised of my whereabouts, to cooperate in the preparation of my case, and to
be present on reasonable notice for appearances. I agree to provide to Attorney a copy of my state-issued
identification (Driver License).

                                                          —                             —
(3) I agree to personally and timely deliver to Attorney immediately upon receipt 1) all legal papers,
whether during, prior to, or subsequent to any litigation, which are or were personally served upon me,
whether such papers constitute correspondence, pleadings, motions, notices, orders, discovery; and 2) any
other papers relating in any way to the subject matter for which I have requested Attorney to represent me.

(4) Attorney has the right to refuse any papers from me if I fail to timely deliver or have permitted the
applicable time to respond to such papers to expire, and 1agree that under such circumstances. Attorney is
expressly and unconditionally relieved from any and all liabilities or responsibilities to respond, act on or
otherwise address the matters in any such papers.

(5) Attorney can withdraw from representation if ( 1 ) following investigation or legal research, it reasonably
appears to Attorney that continued pursuit of the matter would not result in a sustainable claim or collectable
judgment; (2) investigation discloses information that precludes litigation or makes success unlikely,
including no insurance coverage or no reasonable basis upon which to prove liability of the Defendant; or
(3) I engage in conduct that renders it unreasonably difficult for Attorney to represent me effectively,
including but not limited to failing to maintain adequate funds on deposit with Attorney, failing to follow
Attorney's instructions, and failing to maintain confidentiality of my case.

(6) I agree that Attorney has the exclusive right to exercise Attorney’s professional discretion and to utilize
the tactics and strategies Attorney deems advisable, including but not limited to the manner and timing of
investigating the claim, and when and where to file suit

(7) I am seeking representation to redress wrongs against me, not to harass or vex,

(8) I understand that Attorney makes no guarantee as to the outcome of my matter or what amounts, if any,
may be recovered or avoided.

(9) I understand that obtaining a judgment does not guarantee that the opposing party will be able or willing
to satisfy the judgment. I intend to pursue post-judgment actions and understand that these are often required
to satisfy any award obtained in court.

(10) I understand that Attorney makes no representations or guarantees regarding the tax consequences of
any recovery obtained on my behalf. Although Attorney may suggest one or another tax professional, I
assume the responsibility of opining tax advice.


Signature of Client                                                 Date



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                                          TEXAS LAWYER'S CREED
                                      A MANDATE FOR PROFESSIONALISM
         I am a lawyer. I am entrusted by the People of Texas to preserve and improve our legal system. I am
licensed by the Supreme Court of Texas. I must, therefore, abide by the Texas Disciplinary Rules of Professional
Conduct, but I know that professionalism requires more than merely avoiding the violation of laws and rules. I am
committed to this creed for no other reason than it is right.


I. OUR LEGAL SYSTEM
A lawyer owes to the administration of justice personal dignity, integrity, and independence. A lawyer should always
adhere to the highest principles of professionalism.
1.   lam passionately proud of my profession. Therefore, "My word is my bond."
2. lam responsible for assuring that all persons have access to competent representation regardless of wealth or
position in life.
3.   I commit myself to an adequate and effective pro bono program.
4. lam obligated to educate my clients, the public, and other lawyers regarding the spirit and letter of this Creed.
5. I will always be conscious of my duty to the judicial system.


n. LAWYER TO CLIENT
A lawyer owes to a client allegiance, learning, skill, and industry. A lawyer shall employ all appropriate means to
protect and advance the client's legitimate rights, claims, and objectives. A lawyer shall not be deterred by any real
or imagined fear of judicial disfavor or public unpopularity, nor be influenced by mere self-interest.
1. I will advise my client of the contents of this creed when undertaking representation.
2. I will endeavor to achieve my client's lawful objectives in legal transactions and in litigation as quickly and
economically as possible.
3. I will be loyal and committed to my client's lawful objectives, but 1 will not permit that loyalty and commitment
to interfere with my duty to provide objective and independent advice.
4, I   will advise my client that civility and courtesy are expected and are not a sign of weakness.
5. I will advise my client of proper and expected behavior.
6. I will treat adverse parties and witnesses with fairness and due consideration. A client has no right to demand
that I abuse anyone or indulge in any offensive conduct.
7. I will advise my client that we will not pursue conduct, which is intended primarily to harass or drain the
financial resources of the opposing party.
8. I will advise my client that we will not pursue tactics, which are intended primarily for delay.
9. I will advise my client that we will not pursue any course of action, which is without merit.
10. I will advise my client that I reserve the right to determine whether to grant accommodations to opposing
counsel in all matters that do not adversely affect my client's lawful objectives. A client has no right to instruct me to
refuse reasonable requests made by other counsel.
11 . I will advise my client regarding the availability of mediation, arbitration, and other alternative methods of
resolving and settling disputes.




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IH. LAWYER TO LAWYER
A lawyer awes to opposing counsel, in the conduct of legal transactions and the pursuit of litigation, courtesy,
candor, cooperation, and scrupulous observance of all agreements and mutual understandings. Ill feelings between
clients shall not influence a lawyer's conduct, attitude, or demeanor toward opposing counsel. A lawyer shall not
engage in unprofessional conduct in retaliation against other unprofessional conduct.
1.   I will be courteous, civil, and prompt in oral and written communications.
2.   I will not quarrel over matters of form or style, but I will concentrate on matters of substance.
3. I will identify for other counsel or parties all changes I have made in documents submitted for review.
4. I will attempt to prepare documents, which correctly reflect the agreement of the parties. I will not include
provisions, which have not been agreed upon or omit provisions, which are necessary to reflect the agreement of the
parties.
5. I will notify opposing counsel, and, if appropriate, the Court or other persons, as soon as practicable, when
hearings, depositions, meetings, conferences or closings are cancelled.
6.   I will agree to reasonable requests for extensions of time and for waiver of procedural formalities, provided
legitimate objectives of my client will not be adversely affected.
7. I will not serve motions or pleadings in any manner that unfairly limits another party's opportunity to respond.
8. I will attempt to resolve by agreement my objections to matters contained in pleadings and discovery requests
and responses.
9. I can disagree without being disagreeable. I recognize that effective representation does not require antagonistic
or obnoxious behavior. I will neither encourage nor knowingly permit my client or anyone under my control to do
anything, which would be unethical or improper if done by me.
10. I will not, without good cause, attribute bad motives or unethical conduct to opposing counsel nor bring the
profession into disrepute by unfounded accusations of impropriety. I will avoid disparaging personal remarks or
acrimony towards opposing counsel, parties and witnesses. I will not be influenced by any ill feeling between clients.
I will abstain from any allusion to personal peculiarities or idiosyncrasies of opposing counsel.
11. I will not take advantage, by causing any default or dismissal to be rendered, when I know the identity of an
opposing counsel, without first inquiring about that counsel's intention to proceed.
12. I will promptly submit orders to the Court. I will deliver copies to opposing counsel before or contemporaneously
with submission to the Court. I will promptly approve the form of orders, which accurately reflect the substance of
the rulings of the Court.
13.1 will not attempt to gain an unfair advantage by sending the Court or its staff correspondence or copies of
correspondence.
14. I will not arbitrarily schedule a deposition, court appearance, or hearing until a good faith effort has been made
to schedule it by agreement.
15. I will readily stipulate to undisputed facts in order to avoid needless costs or inconvenience for any party.
16. I will refrain from excessive and abusive discovery.
17. I will comply with all reasonable discovery requests. I will not resist discovery requests, which are not
objectionable. I will not make objections nor give instructions to a witness for the purpose of delaying or obstructing
the discovery process. I will encourage witnesses to respond to all deposition questions, which are reasonably
understandable. I will neither encourage nor permit my witness to quibble about words where their meaning is
reasonably clear.
18. I will not seek Court intervention to obtain discovery, which is clearly improper and not discoverable.
19. I will not seek sanctions or disqualification unless it is necessary for protection of my client's lawful objectives
or is fully justified by the circumstances.


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IV. LAWYER AND JUDGE
Lawyers and judges owe each other respect, diligence, candor, punctuality, and protection against unjust and
improper criticism and attack. Lawyers and judges are equally responsible to protect the dignity and independence
of the Court and the profession.
1. I will always recognize that the position of judge is the symbol of both the judicial system and administration of
justice. I will refrain from conduct that degrades this symbol.
2. I will conduct myself in Court in a professional maimer and demonstrate my respect for the Court and the law.
3. I will treat counsel, opposing parties, the Court, and members of the Court staff with courtesy and civility.
4. I will be punctual.
5. I will not engage in any conduct, which offends the dignity and decorum of proceedings.
6. I will not knowingly misrepresent, rnischaracterizc, misquote or miscite facts or authorities to gain an advantage.
7. 1 will respect the rulings of the Court.
S. 1 will give the issues in controversy deliberate, impartial and studied analysis and consideration.
9. I will be considerate of the time constraints and pressures imposed upon the Court, Court staff and counsel in
efforts to administer justice and resolve disputes.

ORDER OF THE SUPREME COURT OF TEXAS
AND THE COURT OF CRIMIN AL APPEALS
The conduct of a lawyer should be characterized at all times by honesty, candor, and fairness. In fulfilling his or her
primary duty to a client, a lawyer must be ever mindful of the profession's broader duty to the legal system.
The Supreme Court of Texas and the Court of Criminal Appeals are committed to eliminating a practice in our State
by a minority of lawyers of abusive tactics, which have surfaced in many parts of our country. We believe such tactics
are a disservice to our citizens, harmful to clients, and demeaning to our profession.
The abusive tactics range from lack of civility to outright hostility and obstructionism. Such behavior does not serve
justice but tends to delay and often deny justice. The lawyers who use abusive tactics instead of being part of the
solution have become part of the problem.
The desire for respect and confidence by lawyers from the public should provide the members of our profession with
the necessary incentive to attain the highest degree of ethical and professional conduct. These rules are primarily
aspirational. Compliance with the rules depends primarily upon understanding and voluntary compliance, secondarily
upon re-enforcement by peer pressure and public opinion, and finally when necessary by enforcement by the courts
through their inherent powers and rules already in existence.
These standards are not a set of rules that lawyers can use and abuse to incite ancillary litigation or arguments over
whether or not they have been observed.
We must always be mindful that the practice of law is a profession. As members of a learned art we pursue a common
calling in the spirit of public service. We have a proud tradition. Throughout the history of our nation, the members of
our citizenry have looked to the ranks of our profession for leadership and guidance. Let us now as a profession each
rededicate ourselves to practice law so we can restore public confidence in our profession, faithfully serve our clients,
and fulfill our responsibility to the legal system.
The Supreme Court of Texas and the Court of Criminal Appeals hereby promulgate and adopt
"The Texas Lawyer's Creed - A Mandate for Professionalism" as attached hereto and made a part hereof.
In Chambers, this 7th day of November, 1989.




ABA Required Notices                                                                                            Page 8
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The Supreme Court of Texas                                   The Court of Criminal Appeals

Thomas. R. Phillips, Chief Justice                           Michael J. McCormick, Presiding Judge
Franklin S. Spears                                           W. C. Davis
C. L. Ray                                                    Sam Houston Clinton
Raul A. Gonzales                                             Marvin O. Teague
Oscar H. Mauzy                                               Chuck Miller
Eugene A. Cook                                               Charles F. (Chuck) Campbell
Jack Hightower                                               Bill White
Nathan L. Hecht                                              M. P. Duncan, ITT
Lloyd A. Doggett                                             David A. Berchelmann, Jr.
Justices                                                     Judge


                                     BASIC TEXAS TRIAL CALENDAR
                              (This calendar represents a possible series of events)
Day -60                                                      Month 6
LI 10 Fact Investigation/Development                         L241 Motion for Summary Judgment
LI 20 Analysis/Strategy                                      Month 7
LI 21 Demand Letter                                          L330 Depositions
Day 0                                                        L340 Expert Discovery
L210 Pleadings (App/Petition/ Answer)                        Month 9
L2 11 Service and pre-answer pleas                           L242 No Evidence MSJ
L220 Prelim Injunctions/Abatements                           Month 11
L250 Special Exceptions                                      L430 Pre-trial conference
LI 30 Identify Experts/Consultants                           L430 Written Motions and Submissions
Day 30                                                       Month 12
L31 1 Request for Disclosure                                 L440 Trial Preparation
L312 Request for Production                                  L450 Trial
L313 Request for Admissions                                  Month 13
L3 14 Interrogatories                                        L460 Motion for New Trial, Pet Bill Review
Day 60                                                       L470 Enforcement
L320 Document Production                                     L471 Post-judgment discovery
L350 Motion for Protection                                   L472 Turn-over Receivership
L35O Motion to Compel                                        L5 10 Appellate Motions and Submissions
Day 90                                                       L520 Appellate Briefs
L230 Court Mandated Mediation                                Month 15
                                                             L530 Oral Arguments




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                      EXHIBIT 2
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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

IN RE:                                            §
                                                  §
       VERONICA SAENZ,                            §   Case No. 22-20164
                                                  §        (Chapter 13)
Debtor.                                           §   JUDGE MARVIN ISGUR

                    AFFIDAVIT OF PROPOSED COUNSEL
      PURSUANT TO 11 U.S.C. § 329(a) AND BANKRUPTCY RULES 2014, 2016(b)

        Norred Law, PLLC (the “Firm”), proposed counsel for Veronica Saenz, (the “Movant”),
states that to the best of its knowledge, the Firm represents no interest adverse to the estate in the
matters upon which the Firm has been or is to be engaged; that the Firm’s employment has been
and would be in the best interest of the estate; and that the attorneys in this firm are disinterested
persons as defined under 11 U.S.C. § 101(14).

        Except as set forth herein and the Application, the Firm has not represented the Debtor
prior to or during this bankruptcy case. The Firm does not believe that any conflict exists which
precludes its unbiased representation of the Movant and the estate in this case in its proposed role
as special counsel.

       Except as set forth herein and to the best of its knowledge, the Firm has no other
connections with the Debtor, its creditors, any other parties in interest, their respective attorneys
and accountants, the United States Trustee, or any person employed in the office of the United
States Trustee and is a “disinterested person” within the definition of Section 101(14) of the
Bankruptcy Code on the matters for which it is to be engaged as special counsel.

        Legal representation undertaken by the Firm includes (a) assisting the Movant in
analyzing and pursuing potential claims against ARCPE I, LLC related to a foreclosure that took
place on June 7, 2022; (b) preparing and filing such pleadings as are necessary to pursue the
estate’s claims against third parties; (c) conducting appropriate examinations of witnesses,
claimants and other parties in interest in connection with such litigation; (d) representing the
Movant in any adversary proceedings and other proceedings before the Court and in any other
judicial or administrative proceeding in which the claims described herein may be affected; (e)
collecting any judgment that may be entered in the contemplated litigation; (f) handling any
appeals that may result from the contemplated litigation; and (g) performing any other legal
services that may be appropriate in connection with the prosecution of the litigation described
above.

       The Firm has agreed to the contingency fee arrangement as set forth in the application
and Exhibit 1 to the Application. The agreement is the product of free and arms-length
discussions. To date, the Firm received prepetition funds in the amount of $5,000 from the
Debtor in connection with the proposed representation in this case.
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       The Finn has not promised, either directly or indirectly to share any compensation with
any other persons nor does the Firm have any agreement for payment of attorney's fees and
expenses expect as stated herein.

       Dated: July 14, 2022.

                                                      NORRED LAW, PLLC


                                                By:
                                                       layton
                                                                r No. 24065212
                                                      5 1 5 E. Border Street
                                                      Arlington, TX 76010
                                                      (817) 704-3984
                                                      (8 1 7) 524-6686 (fax)
                                                      clayton(a;non cdlaw.com

                                                      Proposed Special Litigation Counsel


THE STATE OF TEXAS                      §
                                        §
COUNTY OF TARRANT                       §

       SWORN TO AND SUBSCRIBED BEFORE ME, a notary public in the State of Texas,
County of Tarrant, on this the ( 5 day of  , 20 ^2>by Clayton Everett, to certify
which, witness my hand and seal of office.


                         ANGELA FLINT
                Notary Public. State of Texas
         jyjvryf Comm. Expires 08-16-2025
                                                      Notary   Pul^ic in and for the State of Texas
                      Notary ID 131247818
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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION

IN RE:                                           §
                                                 §
       VERONICA SAENZ,                           §   Case No. 22-20164
                                                 §        (Chapter 13)
Debtor.                                          §   JUDGE MARVIN ISGUR

               ORDER AUTHORIZING EMPLOYMENT OF ATTORNEYS

        The Court, having considered the Application to Employ Norred Law, PLLC (the
“Firm”) as special litigation counsel pursuant to 11 U.S.C. § 328(a) filed by Veronica Saenz, (the
“Movant”), is of the opinion that the requested relief is in the best interest of the estate and its
creditors; that the Firm represents no interest adverse to the estate in the matters upon which they
are to be engaged and are disinterested persons within the definition of 11 U.S.C. § 101(14); and
that the application should be approved. Accordingly, it is therefore

       ORDERED THAT:

       1.      The hourly fee agreement attached as         Exhibit 1 is approved pursuant to 11
U.S.C. § 328(a).

       2.       The Firm is employed as special litigation counsel to provide all necessary legal
services to the Movant in this case as set forth on Exhibit 1 and in the Application.

       3.     Clayton L. Everett is designated as attorney in charge for the representation by the
Firm of the Movant in this case.

       4.     All applications for compensation shall be filed with the Court in accordance with
the Bankruptcy Code and the Federal Rules of Bankruptcy Procedure.


       SIGNED this _____ day of ____________, 20___.


                                          __________________________________________
                                          THE HONORABLE MARVIN ISGUR,
                                          UNITED STATES BANKRUPTCY JUDGE
